    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 1 of 17 PageID #:720




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ADMIIN INC. d/b/a PARO INC.,                     )
a Delaware Corporation,                          )
                                                 )
                        Plaintiff,               )        Case No. 1:23-cv-04430
                                                 )
         v.                                      )
                                                 )
LUKE KOHAN an individual,                        )
and FIRMKEY SOLUTIONS LLC,                       )
a Minnesota limited liability company,           )
                                                 )
                        Defendants.              )

                    DEFENDANTS’ MEMORANDUM OF LAW
         OPPOSING PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

         Since the Court denied Plaintiff’s motion for TRO and through subsequent discovery, it

has become only more evident that Plaintiff has frivolously made claims and, in bad faith, have

continued to pursue their claims. The subject Non Competition Agreement remains overbroad and

ambiguous, problematic and unreasonable, and consequently unenforceable. Mr. Kohan has never,

is still not, and will not, engage in the solicitation of Paro’s clients and employees. Mr. Kohan has

never, is still not, and will not, misappropriate or threaten to misappropriate Paro’s trade secrets

and confidential information. FirmKey has never, is not, and will not, tortiously interfere with Mr.

Kohan’s contractual obligations to Paro. In denying Plaintiff’s motion for TRO, the Court opined

that the scope of the restrictive covenant is problematic, overbroad, ambiguous, unreasonable,

imposes undue hardship, and precludes Mr. Kohan from working in any capacity in his industry.

Also still true is the fact that Mr. Kohan still is not soliciting Plaintiff’s clients.

         What has changed is the development of new evidence undermining Plaintiff’s claims and

its request for entry of a preliminary injunction. Specifically, Plaintiff’s 30(b)(6) witness Michael

Chen testified that Paro has no evidence regarding solicitation of Paro’s clients, and Paro has not


73089921;1
     Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 2 of 17 PageID #:721




suffered irreparable harm, and Paro has not been damaged. And in turn, Paro recently dropped its

baseless misappropriation of trade secrets claim.

         In light of the foregoing, and for the additional reasons discussed below, Plaintiff’s Motion

for a Preliminary Injunction should be denied as Plaintiff’s likelihood of success on the merits is

improbable (to say the least), as the law requires.

         First, Admiin Inc. d/b/a Paro Inc. (“Paro” or “Plaintiff”) and FirmKey Solutions LLC

(“FirmKey”) differ in the services provided. Both parties identify, market, and operate themselves

differently as well, making the Non Competition Agreement inapplicable and not violated.

         Second, the Non Competition Agreement is unenforceable given its combination of

unfathomably broad restrictive covenants. The restricted territory is over broad in that it reaches

nationwide and internationally. The prohibited activities are ambiguous and preclude Mr. Kohan

from working in a field of his choosing and expertise.

         Third, there was a mistake of fact when Mr. Kohan signed the Non Competition Agreement,

making it unenforceable.

         Fourth, Mr. Kohan is not soliciting any of the Plaintiff‘s clients. Plaintiff has provided no

real evidence of a breach of the non-solicitation agreement, other than a LinkedIn document, and

its 30(b)(6) witness admitted that Paro has no evidence of solicitation.

         Finally, there is no tortious interference here, as Paro has not even asserted many of the

requirements of that tort, let alone tried to prove them.

I.       APPLICABLE LAW

         “Injunctive relief is ‘an extraordinary remedy that may only be awarded upon a clear

showing that the plaintiff is entitled to such relief.’ In deciding whether to grant preliminary

injunctive relief, a court must consider four traditional criteria,” including whether the plaintiff has



                                                 -2-
73089921;1
      Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 3 of 17 PageID #:722




a reasonable likelihood of success on the merits. Klinger v. Conan Doyle Est., Ltd., 988 F. Supp.

2d 879, 894 (N.D. Ill. 2013), aff’d, 755 F.3d 496 (7th Cir. 2014); Troogstad v. City of Chicago,

571 F. Supp. 3d 901, 907 (N.D. Ill. 2021) (“When considering a motion for temporary restraining

order, the Court must employ the same test as a request for a preliminary injunction: the plaintiff

has the burden to show (1) a likelihood of success on the merits … The first factor—’likelihood

of success on the merits’—requires the plaintiff to make a ‘strong showing that she is likely to

succeed on the merits’ of her claim; a mere ‘possibility of success is not enough’ to warrant

emergency relief”). For the aforementioned five reasons, Paro has not established that it has a

likelihood of success here and its motion should be denied.

II.      BACKGROUND FACTS

         A.     Kohan’s Employment with Paro

         Kohan began his employment with Paro on October 19, 2020. Prior to joining Paro, Kohan

worked at Groupon (January 2016-January 2020) and Rodeo (July 2020 – October 2020). Before

joining Paro, he had prior experience in working for “marketplaces” and “matchmaking” between

businesses and consumers. Exhibit A, Declaration of Luke Kohan, ¶ 1.

         Kohan held several different positions during his time at Paro, and in those roles, Kohan

was responsible for identifying prospects, creating prospect-leads, and converting prospective

clients into clients. During his last nine months with Paro (July 2022 to March 2023), Kohan

worked on the “CPA east” (or “white label”) team, which focuses solely on providing staff

augmentation services to public accounting firms. Although Paro‘s business model is predicated

on its proprietary matchmaking algorithm, Kohan often times went above and beyond just using

the algorithm to ensure he was presenting the most qualified experts to prospective clients. Kohan

Dec., ¶ 2.



                                               -3-
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 4 of 17 PageID #:723




           Prior to the commencement of Kohan’s employment, Paro’s VP of People, Randi

Jakubowitz, sent Kohn an email with the subject line “Welcome to Paro – Onboarding Info”

stating:

                  “Congrats on your offer & we are thrilled about having you join
                  Paro! In order to get things ready for you, can you please take a few
                  minutes to sign off on the following items:

                  Your offer letter will be delivered shortly to you email via Hellosign
                  for review & signature (it may come from Michael Burdick, our
                  CEO)

                  Please electronically sign your Non-disclosure & innovation
                  agreement (click the link and it will take you to the appropriate page
                  to sign).

                  We will need for you to electronically sign Paro’s Employee
                  Handbook (click the link and it will take you to the appropriate page
                  to sign).

                  Please complete this Electronic Onboarding Form so we can get you
                  set up in the payroll & benefit systems…”

           Exhibit B, October 2, 2020 Email, emphasis added, see also Kohan Dec., ¶3.

           Notably, Jakubowitz referred to the employment agreement as a “non-disclosure and

innovations agreement,“ not a Non Competition Agreement, and that is what Mr. Kohan was led

to believe and understood it to be. Such an agreement is blatantly distinguishable from the

exhaustive employment agreement in which Kohan was deceived into signing. Kohan Dec., ¶ 4.

           Moreover, Jakubowitz did not inform Kohan that those documents were in fact a condition

of his employment and that Kohan would be contractually bound to far more strenuous post-

employment obligations. Kohan Dec., ¶ 5.

           Next, Paro’s CEO Michael Burdick sent Kohan an “offer letter” on Friday, October 2nd at

1:39pm, 2 minutes before Jakubowitz emailed Kohan the “onboarding information.” Then, at 2:24




                                                  -4-
73089921;1
       Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 5 of 17 PageID #:724




pm, Kohan received an email from Hellosign prompting him to sign, what he now knows as, the

Non Competition Agreement. Kohan Dec., ¶6.

         At 2:24pm, the same time that he received the employment agreement, Kohan emailed

Jakubowitz requesting the offer letter be revised. On October 3rd at 3:40pm, Hellosign again

prompted Kohan to sign the employment agreement. He was pressured to sign it and not given

time to review it, understand it, or consult with an attorney regarding it. Kohan signed the

employment agreement at 3:41pm, just 1 minute after receiving the document. Kohan Dec., ¶7.

The disheveled and unclear manner, if not duress-laden manner, in which the document was

represented, delivered, and demanded to be signed, led to a mistake of fact by Kohan. He did not

know what the document was, through no mistake or negligence on his part. Kohan Dec., ¶ 7.

III.     ARGUMENT

         A.     PARO CANNOT SUCCEED ON THE MERITS

         Paro has not established a strong showing that it is likely to succeed on the merits for

several reasons, each of which on its own is sufficient grounds for denial here.

                1.       Mr. Kohan and FirmKey Have Not Breached the Non Competition
                         Agreement

         The Non Competition Agreement in question states as follows:

                     During the Restricted Period (as defined below*), I will not,
                     anywhere in the Restricted Territory (as defined below*),
                     without the Company’s prior written consent, directly or
                     indirectly, alone or as a partner, member, manager, owner,
                     joint venturer, officer, director, employee, consultant, agent,
                     contractor, stockholder or in any other capacity of any
                     company or entity, engage in the Business, have any financial
                     interest in any company or entity engaging in the Business or
                     make any loans to any company or entity engaging in the
                     Business. For purposes of this Agreement, the term
                     “Business” means (a) the provision of outsourced financial
                     services, including bookkeeping and accounting, financial
                     analysis and CFO strategy services, or (b) the provision,
                     development, marketing, sale or maintenance of products or

                                                  -5-
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 6 of 17 PageID #:725




                   services which are substantially similar to those developed,
                   marketed, distributed, sold, maintained or otherwise provided
                   by, or actively planned to be developed, marketed, distributed,
                   sold, maintained or otherwise provided by the Company
                   during the term of my employment with the Company.

Exhibit A to Complaint at ¶ 4.

         Paro and FirmKey identify, market, and operate differently and are therefore not

competitors and FirmKey is not operating in Paro’s “Business.” Kohan Dec., ¶ 8. Thus, neither

Mr. Kohan nor FirmKey are in violation of the Non Competition Agreement. The myriad of

differences between FirmKey and Paro’s businesses include the following:

             •   Paro is an artificial intelligence-powered marketplace that delivers finance and
                 accounting solutions to businesses through a combination of expert fractional
                 talent, data-driven tools, and guiding insights via its proprietary AI-powered
                 platform. Kohan Dec., ¶ 11. In contrast, FirmKey is an agency conducting business
                 development on behalf of its small group of independent, boutique accounting
                 teams (“Vendors”). Kohan Dec., ¶ 9

             •   Paro’s network of experts are individuals, where FirmKey’s are boutique firms.
                 Kohan Dec., ¶ 10

             •   The companies use different pricing models. Paro charges its clients a substantial
                 markup, while FirmKey charges its Vendors 20% of their respective rates. Kohan
                 Dec., ¶ 11.

             •   FirmKey is not a tangible marketplace, nor a platform. Kohan Dec., ¶12.

             •   Paro has been funded by multiple rounds. FirmKey is bootstrapped. Kohan Dec.,
                 ¶ 13.

             •   Paro has multiple employees, FirmKey has none. Kohan Dec., ¶ 14.

             •   Paro ‘is on [their] way to becoming the clear market leader in the US-based staff
                 augmentation space for [public accounting] firm’. FirmKey does not offer such
                 services. Kohan Dec., ¶ 15.

             •   Kohan was assigned to Paro’s Outbound Direct team until July 2022. It has been
                 15 months since his assignment to the team, and furthermore, Paro dismantled this
                 business unit in Q1 of 2023. Paro does not have an Outbound team, its Inbound
                 team only deals with incoming leads. Kohan Dec., ¶ 16.



                                                -6-
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 7 of 17 PageID #:726




Based on the above, Paro’s business is far different from FirmKey’s business. Mr. Kohan and

FirmKey secure engagement opportunities for their Vendors that meticulously align with their

Vendors’ industry experiences and technical specialties. Paro sells its proprietary AI marketplace

while FirmKey has no technology driven process. Paro provides 1099/W2 staff augmentation for

public accounting firms while FirmKey connects companies in need of an accounting team with

FirmKey’s Vendors. Paro’s sales org is predominantly ‘Inbound’ (i.e., companies and firms submit

their interest), Mr. Kohan and FirmKey are entirely ‘Outbound’ (i.e., cold calling, emailing, and

selling to secure opportunities). Kohan Dec., ¶ 17.

         For these reasons, there is no violation of the non-compete agreement, as FirmKey is not

engaging in Paro’s “Business” as defined in the Non Competition Agreement.

                2.       The Non Competition Agreement Is Not Enforceable

         Whether a non-compete covenant is enforceable is a question of law and such clauses are

closely scrutinized. Bishop v. Lakeland Animal Hosp., P.C., 268 Ill. App. 3d 114, 117, 644 N.E.2d

33, 35 (1994). They are not favored and are strictly construed against the employer. Burk v.

Heritage Food Serv. Equip., Inc., 737 N.E.2d 803, 811 (Ind. Ct. App. 2000). Restrictive covenants

must be reasonable in term of scope to be enforceable. Unisource Worldwide, Inc. v. Carrara,

244 F. Supp. 2d 977, 982 (C.D. Ill. 2003). The Non Competition Agreement at issue here is not

enforceable because it is far too broad in both the prohibited activity and in geographic scope, and

because it is insolubly ambiguous.

                         i.     The Prohibited Activity Definition is Overly Broad and Insolubly
                                Ambiguous

         The activity that is prohibited by the Non Competition Agreement is as follows.

                     “Business” means (a) the provision of outsourced financial
                     services, including bookkeeping and accounting, financial
                     analysis and CFO strategy services, or (b) the provision,
                     development, marketing, sale or maintenance of products or

                                                -7-
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 8 of 17 PageID #:727




                   services, which are substantially similar to those developed,
                   markets distributed, sold, maintained or otherwise provided
                   by, or actively planned to be developed, marketed, distributed,
                   sold, maintained or otherwise provided by the Company
                   during the term of my employment with the Company.
                   (emphasis added)

Exhibit A to Complaint at page 5, ¶ 4.

         This prohibited activity is problematically broad and irreconcilably ambiguous. The phrase

“the provision of outsourced financial services” covers a vast universe of activities and, if enforced,

would prevent Mr. Kohan from taking virtually any job in his chosen area of expertise. See

AssuredPartners, Inc. v. Schmitt, 2015 IL App (1st) 141863, ¶ 35-36, 44 N.E.3d 463, 472-73

(scope of activities that barred defendant from earning a living for all professional liability

insurance products and services was unenforceable); Dryvit Sys., Inc. v. Rushing, 132 Ill. App. 3d

9, 14, 477 N.E.2d 35, 39 (1985) (finding an agreement unfair because, in part, it “makes no attempt

to reasonably limit the restrictions, thereby placing the employee in the position of peril”);

Distributor Service, Inc. v. Stevenson et al., 16 F.Supp.3d 964, 972-973 (S.D.Ind. 2014) (finding

the scope of activities was unreasonable and unenforceable when it covered “any type of activity”

that the party would engage in for a competitor); Clark’s Sales & Serv., Inc. v. Smith, 4 N.E.3d

772, 782 (Ind. Ct. App. 2014) (finding a “services competitive” restriction was overly broad,

onerous and an undue restriction on the party’s economic freedom); MacGill v. Reid, 850 N.E.2d

926, 932 (Ind. Ct. App. 2006) (the clause “own, manage, or materially participate in any business

substantially similar” was overbroad and unenforceable); Lanmark Technology, Inc. v. Canales,

454 F.Supp.2d 524, 529 (E.D. Va. 2006) (finding a restriction “breathtakingly and excessively

broad” when it prevented an employee from assisting a competitor to obtain any business

opportunity, perform any services similar to services performed by the prior employer that relates

to any contract or project currently being performed by the prior employer, any business


                                                 -8-
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 9 of 17 PageID #:728




opportunity the prior employer is pursuing, and any person or organization for which the prior

employer is or has performed services).

         The phrase “substantially similar” found in the Non Competition Agreement is the

definition of ambiguous and provides no guidance on what activities might be prohibited. It is

capable of many meanings. Because the prohibited activities are too broad and ambiguous the

Non Competition Agreement is unenforceable. Bishop, 268 Ill. App. 3d at 117 (a contract is

ambiguous if it is capable of more than one meaning); Unisource, 244 F.Supp.2d at 982 (finding

the contract ambiguous and unintelligible and therefore unenforceable); Lanmark, 454 F.Supp.2d

at 529 (“where a non-compete clause is ambiguous, that is, it is susceptible to two or more differing

interpretations, one of which is functionally overbroad, and thus unenforceable, the clause fails”).

                        ii.    The Geographic Territory is Virtually Unlimited

         Further rendering the Non Competition Agreement unenforceable, the geographic scope of

the Non Competition Agreement is virtually unlimited.

         The definition of “Restricted Territory” in the agreement provides:

                   For purposes of this Agreement, the term “Restricted
                   Territory” shall mean the United States and each other
                   country, province, state, city or other political subdivision in
                   which the Company carries on, had carried on the Business
                   during the term of my employment and/or the Restricted
                   Period.

Exhibit A. to Complaint at ¶ 8 J.

         This broad geographic scope would prevent the Defendants from doing business virtually

anywhere in the world, as Paro operates worldwide, and is unlimited and therefore not enforceable.

“If the scope of the covenant is broader than is necessary to protect the goodwill of the business

sold, the covenant is invalid.” Gutreuter v. Fiber Bond Corp., 710 F. Supp 227, 232 (N.D. Ill.

1989). In Gutreuter, the Court found a non-competitive agreement unenforceable and overbroad


                                                -9-
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 10 of 17 PageID #:729




because it precluded a party from seeking employment at all in thirteen specific states and the

District of Columbia and in parts of thirteen other states and parts of Canada. Id. The geographic

scope here is much broader than the scope found unenforceable in Gutreuter. See also Assured

Partners, 44 N.E. 3d at 473 (geographic scope that prohibits activity anywhere in the United States

or its territories deemed unreasonable); Callahan v. L.G. Balfour, 179 Ill. App. 3d 372, 379, 534

N.E.2d 565, 569 (1989) (geographic scope of Chicago and seven counties overly broad); Dryvit

System, 477 N.E.2d at 38 (finding very broad geographical scope of the Continental United States

unreasonable); Buffkin v. Glacier Grp., 997 N.E.2d 1, 13 (Ind. Ct. App. 2013) (a restriction

prohibiting services anywhere in the continental United States exceeds the bounds of

reasonableness); see also Oce N. Am, Inc. v. Brazeau, 2009 WL 6056775 (N.D. Ill, Sept. 4, 2008)

report and recommendations adopted 2010 WL 5033310 (N.D. Ill. Mar. 18, 2010).

         Plaintiff’s cited cases are distinguishable.

         -   In Mintel Int’l Grp., Ltd. v. Neergheen, the court stated that it did “not have before it at
             this early stage of the case either the factual record or the legal support grounded in
             Illinois cases to be convinced that every provision that [the plaintiff] seeks to enforce
             ultimately can be sustained as a matter of law.” Here, Defendant had copied, emailed,
             and/or printed certain confidential and proprietary files – including lists and strategic
             documents – the day before his departure. 2008 WL 2782818, at *4 (N.D. Ill. July 16,
             2008). In contrast, this Court has before it a robust factual record and Illinois case law
             demonstrating the Non Competition Agreement is unenforceable.

         -   In Instrumentalist Co. v. Band, Inc., the court held that enforceability of a restrictive
             covenant in an employment agreement is dependent on whether, given the particular
             facts of the case, the restraints imposed thereby are reasonably necessary. 134 Ill. App.
             3d 884, 895, 480 N.E.2d 1273, 1281 (1985) (emphasis added). The relevant facts in
             Instrumentalist included that the former employee was with its prior employer for 14
             years as the near-exclusive relationship holder with advertisers and that the prohibited
             activities in the at-issue restrictive agreement were narrowly tailored. Id. at *895-96.
             In contrast, here, Mr. Kohan was only with Paro for three years and, as discussed above,
             the prohibited activities in the Non Competition Agreement are unreasonably
             overbroad.

         -   In Gorman Pub. Co. v. Stillman, the court found that because of the limited scope of
             the non-compete clause, specifically “the limited number of jobs to which the covenant
             applied,” the temporal and geographic restrictions must also be viewed as imposing

                                                  - 10 -
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 11 of 17 PageID #:730




             only an insignificant burden. 516 F. Supp. 98, 104 (N.D. Ill. 1980). The court did not
             hold as a general matter that geographic limitations of the entire United States are
             reasonable. As the restricted activities defined in the Non Competition Agreement in
             this case are almost without limit, and not at all narrowly tailored like the restriction in
             Gorman, the overbroad geographic scope is far from insignificant.

         -   In TLS Mgmt. Mktg. Servs., LLC v. Mardis Fin. Servs., Inc., the court deemed it the
             more accepted and prudent practice to wait until the factual context surrounding such
             covenants is fully developed before assessing reasonableness and opted not to
             invalidate a non-compete provision on the pleadings. 2016 WL 6999480, at *8 (S.D.
             Miss. Nov. 30, 2016). Similarly, in Am. Transp. Grp., LLC v. Power, No., the court
             refused to find the absence of a geographic limitation was per se unreasonable at the
             motion to dismiss stage where it was required to take all reasonable inferences in the
             employer’s favor. 2018 WL 1993204, at *4 (N.D. Ill. Apr. 27, 2018). Here, in
             contrast, the factual record is sufficiently developed for the Court to determine the
             broad geographic scope of the Non Competition Agreement is unreasonable.

         The Court’s reliance on Oce and AssuredPartners in denying Plaintiff’s Motion for a TRO

was well-founded and Paro’s recent attempts to distinguish those cases fail.                   Oce and

AssuredPartners more closely resemble the facts at issue here.

         In AssuredPartners, to quote this Court, “the court found unreasonable a non-compete

restrictive covenant which prohibited the employee, a wholesale insurance broker specializing in

lawyers’ professional liability insurance, from working in professional liability insurance

anywhere in the United States or its territories. The court focused on the fact there was no

qualification in the restrictive covenant that the restrictions were limited to the employee’s

activities relating to the specific professional liability insurance practice he had developed during

his prior employment, but rather applied to all liability insurance practices. Additionally, the court

was troubled by the broad geographic scope, which restricted the employee from working in his

chosen field in the United States and its territories. This restriction observed the court, would

place an undue burden on him by forcing him to leave the country to work in the same field. …

AssuredPartners supports the general proposition that restrictions on activities must be narrowly




                                                  - 11 -
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 12 of 17 PageID #:731




tailored to protect only against activities that threaten the employer’s interest.” (ECF No. 17, p.

15-16 of 30) (internal citations omitted).

         The Court also found similarities between the covenant at issue in this case and the

covenant at issue in Oce. To again quote this Court, “[i]n Oce, employees employed in non-sales

or non-service capacities were restricted from becoming ‘associated with, through ownership,

employment, self-employment, consultancy, contract or otherwise, any Competing Business.’ The

covenant was nationwide for a period of 12 months. The court found the covenant was not

enforceable under Illinois law, noting that Illinois law disfavors non-competition clauses, which

are closely examined, and the subject covenant was overly broad to secure any of the company’s

protectable interests. Further, the court identified several cases where one-year, nationwide non-

competition agreements were found to be invalid, and noted that the plaintiff did not point to any

case .where a similar covenant had been. upheld. Finally, the court stated that ‘if the temporal and

geographic restrictions on an employee’s conduct are broad, as they are here, the agreement’s

activity restrictions should be correspondingly narrowly drawn to protect the employee’s ability

to be employed in his chosen field.’” (ECF No. 17, p. 16-17 of 30) (internal citations omitted).

         Both cases support Defendants’ position, and Paro’s attempts to distinguish them fail. It

claims that AssuredPartners is distinguishable because the defendant had decades of prior

experience prior to signing his non-competition agreement. (ECF No. 45, p. 11). But the court’s

finding that the non-competition agreement in AssuredPartners was unenforceable was because

the scope of the restricted activity was unreasonably overbroad compared to the scope of work the

defendant had performed for its former employer. Paro also tries to distinguish Oce by claiming

it applied the wrong test and because defendant’s job with his new employer was in a different




                                               - 12 -
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 13 of 17 PageID #:732




business than his prior job. (ECF No. 45, p. 12). There is no basis for Paro’s speculative argument

that the Oce decision would have come out differently had a different test been applied.

                3.      Defendants Are Not Soliciting Paro Customers

         Mr. Kohan has sworn under oath that he and FirmKey are not soliciting Paro clients. This

should in itself dispose of non-solicitation issues for purposes of this motion, if not certainly make

Paro unlikely to succeed on these issues. But more importantly, Paro’s 30(b)(6) witness Michael

Chen testified that there is no evidence of solicitation:

         “As of this hearing, I’m not aware of a solicitation of Paro clients.”

         Exhibit C, Michael Chen Deposition Transcript (“Chen Trans.”) 68:17-18.

         The only “evidence” Paro can put forth is a LinkedIn post, which is weak at best, silly at

worst. There is no evidence that this post was designed to “induce members of his network to

contact and work with FirmKey”, and it certainly does not rise to the level of solicitation.

         Again, the non-binding cases relied on by Paro do not support its position, and they are

cited improperly without pinpoint cites, making it difficult to determine what is being relied on in

them. In all of these cases, the posts specifically invited calls to join the new businesses, unlike

the LinkedIn post at issue here. Compare with Am. Achievement Corp. v. Jostens, Inc., 622 F.

Supp. 3d 749, 762 (D. Minn. 2022) (noting subject post said to contact the new company); NRT

Texas LLC v. Wilbur, 2022 WL 5434332, at *7 (S.D. Tex. Sept. 7, 2022) (finding posts explicitly

invited real estate agents to contact defendant about joining new company); Mobile Mini, Inc. v.

Vevea, 2017 WL 3172712, at *6 (D. Minn. July 25, 2017) (finding the purpose of a post saying

“Give me a call today for quote” was to entice members to call). In Paro’s other cited case, the

court concluded that the record included unchallenged evidence that would be readily




                                                 - 13 -
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 14 of 17 PageID #:733




characterized as solicitations. Amway Glob. V. Woodward, 744 F. Supp. 2d 657, 673 (E.D. Mich.

2010).

                 4.      There has been Unilateral Mistake So The Non Competition
                         Agreement is Unenforceable

          Given the above facts, it is abundantly clear that Mr. Kohan was mistaken in what he was

signing. He was duped into believe it was a [non-disclosure and innovations] agreement. The law

is clear that such a mistake renders the underlying agreements unenforceable.

          The principle was well explained in Steinmeyer v. Schoopel, 226. Ill 9, 13, 80 NE 564, 565

(1907).

          If there is apparently a valid contract in writing, but by reason of a mistake of fact
          by one of the parties, not due to his negligence, the contract is different with respect
          to the subject matter of terms from what was intended, equity will give to such a
          party a remedy by cancellation where the parties can be replaced in status quo. The
          ground for relief is, that by reason of the mistake there was no mutual assent to the
          terms of the contract.

          Service. December, 11, 1984 (the doctrine unilateral mistake should allow recission of the

contracts): Irmen v. Wrzeniniski, No. 90565362 (Ill. Circt. Du Page County, 1 June 29, 1920) (for

discussion).

          Here, due to the unilateral mistake of fact, the contract is unenforceable. Further, the only

document Jakubowitz stated “needed to signed” was the Employee Handbook. At no point did

Jakubowitz inform Kohan that signing what she referred to as a “non-disclosure and innovations

agreement” would be a condition of his employment. These transgressions are precisely why

Illinois enacted the Freedom to work Act in which an employer is obligated to advise a potential

employee to seek counsel prior to signing an employment agreement.

IV.       FIRMKEY HAS NOT TORTIOUSLY INTERFERED

          Paro does not even try to properly allege, let alone offer proof of, a tortious interference

with contract claim. The required elements under Illinois law are the existence of a valid and

                                                   - 14 -
73089921;1
     Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 15 of 17 PageID #:734




enforceable contract between the plaintiff and a third party, defendant’s awareness of the contract,

defendant’s intentional and unjustified inducement of a breach, defendant’s wrongful conduct

caused a subsequent breach of the contract by the third party, and damages. Arkeyo LLC. V.

Saggezza, Inc., 2021 WL 2254959 at *7 (N.D. Ill. 2021); GSI Grp. , LLC v. Chief Industries, Inc.,

2021 BL 497959 (C.D. Ill 2021). All that Paro has said on this issue is a single sentence, with no

mention of wrongful conduct or damages. (ECF No. 45, p. 12). There are no damages to assert.

V.       THERE IS NO IRREPARABLE HARM

Mr. Chen also admitted that Paro has suffered no irreparable harm.

         Q. “Has [Paro] suffered any irreparable harm yet?”

         A. “At this time, not that I’m aware of.”

         Exhibit C, Chen Trans. 68:4-6.

VI.      PARO’S MISAPPROPRIATION CLAIM

         Defendants note that Paro has dropped its misappropriation of trade secrets claim. Br. at

fn 1. This is undoubtedly because it has realized the claim is baseless, and Defendants will seek

their attorneys’ fees under the DTSA and ITSA for having to defend against this frivolous claim

both at the time of its filing and as pursued in bad faith until September 30.

VII.     THE COURT SHOULD IMPOSE A BOND REQUIREMENT

         Federal Rule of Civil Procedure 65(c) states that the court may grant a preliminary

injunction or temporary restraining order only if the movant gives security in an amount that the

court considers proper. Here, Plaintiff has ignored this requirement and Defendants submit that if

the Court enters a temporary restraining order that a bond in the amount of $30,000.00 should be

required. If the Court enters a preliminary injunction, the bond amount should be raised to an

amount sufficient to cover the period of the preliminary injunction. These amounts cover the



                                               - 15 -
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 16 of 17 PageID #:735




potential damage to Mr. Kohan and FirmKey if they should be precluded from conducting their

business.

VIII. CONCLUSION

         For all these reasons, Paro’s motion for a preliminary injunction should be denied.

Date: October 4, 2023                         Respectfully submitted,

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                                              FirmKey Solutions LLC




                                               - 16 -
73089921;1
    Case: 1:23-cv-04430 Document #: 52 Filed: 10/04/23 Page 17 of 17 PageID #:736




                                   CERTIFICATE OF SERVICE

         I certify that on October 4, 2023 I filed a true and correct copy of the foregoing

DEFENDANT’S MEMORANDUM OF LAW OPPOSING PLAINTIFF’S MOTION FOR

PRELIMINARY INJUNCTION with the court using the ECF system, which will provide notice

and a copy to counsel of record:

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                                             - 17 -
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